Case 4:17-cv-04123-LLP Document 92 Filed 10/22/18 Page 1 of 2 PageID #: 1723



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION

                Lawrence L. Piersol United States District Judge Presiding

Courtroom Deputy - DJP                               Court Reporter – Cheryl Hook
Courtroom - SF #1                                    Date – October 22, 2018

                                      4:17-CV-4123-LLP

SALA NAAMBEWE and YVETTE                                     Stephanie E. Pochop
NIMENYA,

                Plaintiffs,

                    vs.

JOHN MORRELL & CO.,                                    Andrea R. Calem, Amber Rogers

                Defendant.


TIME HEARING SCHEDULED TO BEGIN: 9:00 AM

TIME:
9:05 AM     Enter court trial before the Hon. Lawrence L. Piersol, United States District
            Judge, Sioux Falls, SD. Counsel state their appearances for the record. Plaintiffs
            are also present in Court. Scott Reed is also present on behalf of Smithfield
            Foods as the company representative.

            The parties wish to make opening statements. The Court addresses counsel
            regarding objections to exhibits.

            Discussion regard adverse witnesses.

            Ms. Pochop, on behalf of Plaintiffs, makes opening statements to the Court.
            Ms. Calem, on behalf of Defendant, makes opening statements to the Court.

            Plaintiffs individually address the Court regarding use of an interpreter.

            Ms. Pochop addresses the Court.
            Ms. Rogers addresses the Court.

10:10 AM    Court in recess for 30 minutes.
Case 4:17-cv-04123-LLP Document 92 Filed 10/22/18 Page 2 of 2 PageID #: 1724
4:17-CV-4123-LLP                                                       Date – October 22, 2018
                                                                                      Page - 2


11:20 AM    Parties return and court resumes.

            Statements by the Court. Response by Ms. Pochop. Ms. Pochop, on behalf of the
            Plaintiffs, moves for a continuance. Ms. Pochop makes motion to withdraw as
            counsel and states the reasons therefore.

            Ms. Calem argues in opposition to the continuance and in the alternative, moves
            for dismissal of the case with prejudice. The Court denies the motion for
            dismissal of the case with prejudice and states the reasons therefore.

            Ms. Calem moves for dismissal of the case without prejudice and states the
            reasons therefore. Response by Ms. Pochop.

            Further argument by Ms. Calem in favor of dismissal without prejudice.
            Response by Ms. Pochop. Statements by the Court.

            Discussion regarding right to sue issue.

11:50 AM    Court in recess until 1:00 PM.

1:02 PM     Parties return and court resumes.

            Discussion of case law re: right to sue.

            The Court excuses Ms. Pochop from the case and from any further representation
            of the Plaintiffs.

            The Court will administratively close the case and notes the potential date the
            case can be set for a prime trial date. Ms. Calem requests that Plaintiffs have a
            new attorney hired by the end of the year if they choose to proceed. Response by
            Ms. Pochop.

            Ordered that Plaintiffs will have a lawyer by January 1, 2019, or the Court will
            entertain a motion to dismiss. There will be no sanctions on Plaintiffs’ counsel.

1:15 PM     Court in recess.
